TWELFTH JUDICIAL DISTRICT COURT

COUNTY OF OTERO
STATE OF NEW MEXICO

BELLEVIEW VALLEY LAND CO.,3 Mew
Mexico corporstion, aud JOHN A. WiLiiaMs,
and ELLEN B. WILLIAMS, husband aad wife,

Phing GF,
Tama y SPRAGUE, PERSONAL
REPRESENTATIVE OF THE ESTATE oF
Freo VAN WINKLE, Deceased,

Ay?

BRIAN YAN WINKLE and fupiTH A.
VAN WINKLE, his wile,

Defendsnts-in-laccevention.

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Ne ee a er tr

GRANTING DEFICIENCY

ORDER APPROVING SPECIAL MASTER'S REPORT &
IUDGMENT

[Frcrenmannsans,

SUBMITTED &¥:
Martin, Dugan & Martin
WT. Mansin. Jr.

508 W. Prerce St

email marty

Case 13-11743-t7 Doc 99-1 Filed 12/05/19

Case 20-01022-t Doc 40-7 Filed 03/26/21

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PLAINTIFF'S

EXHIBIT
THIS MATTER came defers this Court apna the Report of tie Snacial Master
ou the foreclosure sale hetd by Joh Ro Hakanson, the Speeial Master, passat 1 Loc

i Masters Report and

Order of this Coun. and the Cour having eennidered the S
being fully advised, finds:

J. Following Fred Van Winkis’s desth, Taasiny Sprays as Personal

Repraseninive of the Estate of Fred Van Winkie, Deecensed. Gersinafier vafared

nas dis PR ~) has previously been sudstumted as the Defendant,

2. Tats Coun has posvionsly dened Ue PRs modinn see Mes of the
Master's Sale.

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8° day of July 2014 ar 10:00 am at the sest deor of the Otero Caumny Court

in Ain

togorde, New Mexica,
4. The Sgecisi Master has filed his Report regurding the Ssecial Master's Sale

a Tis Coun shactd approve the suie te Sree) Mastin conduct

fenoriad hercun, as well as al te Specsat Master's acts,
b. The Special Mastec’s sequest for authorization te exceute anil deliver a

Specuil Master's Deed to tne successful bidders should be granted,

wv

The Srtclai Master's Sale was not suffieient ta satisfy the entien Pal Judgmeni
Foreelosing Plainsf(s’ Judgment Liew. As of the date of the Special Master's

ied deficiency for the umount of te Maal

Sale, there remains an unse
Judginent Kyreelosiag Plaintiffs? Judginent Lied onreved on May 22, 2016, fogs
the amount of proceeds denved from the Sosciai Master's Sale. Plaiatiffs are
sniiied ta a deficiency juczment earying wih it toe it rent nuthonty in enforce
that the Pisintifs held at the time of granting of the Foreeloaurs Judgment and the
sale af ike subject rea! property. Plaintiffs ave afva eatided te the rights of che
huiger of s deficiency judament as contained ia Chapel y. Nevits, 145 NM. 675,
GS, 203 PAG 889, 905, 2409 NMC AGI,

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iTS THEREFORE OKDEREL, ADIURGCED AND DECREED oy Vis
Conse
Thar the Repos of the Special Master fied te, and a herby os. satifed
ceafiened and approved,
ai Thar ibe acts of Hie Bypanciat Master as repaant ace caified. evefirmaen and
approved
2 That Uae sale af the real propesty described in tas Matice of Sale, in Svar
of John H. Williams aud Ellon B. Williams, use ahiest and bave pédders
Ae Stat, Sa ait nix hereny ratified, confinned und asnpoeed
% Tha. the Speeiah Mantes le. and he heresy is. auihariged, aidezed amt
with deiiver ty John EL Willams and Eden B, Witiens
Sead
3 8 Oced. John H. Wikiawss and

2B. Wiltlamss oe und herchy are confirmed as che owaers af ail che

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OM propntrty Geser teat in the Spscral Maxtey’s Deed, frea aad clear of any

grad all chonss,

Plimits ae grad a Deficiency dedament mi te ameun: of

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27 $903.61, whieh shel cemiinuc rm reeree interest ot the mite of $.

the Maal Judgement Fereck

D2e Baws Is pre
Plans dudgurent! Lien.

he Oelzadaat’s} seai

a The deticwney is a diea gn the dshter's is
estate, While no deficiency juddgenent is granted ap an in persone

basis agains: the Here of Fie Van Winkle, deceased, the hen

oriated hy tie deficicacy is colleccable as provided in Chant
Newitt, $45 NM. 674, 685, 204 P3d B89, 990, 2009 NMCAGYF

The deficieacy also remuing colleciebls by the Plalinitfs ihegugh

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SUBMIPTED & APPROVED:

MARTIN, DUGAN & MARTIN
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